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IN THE UNITED sTATEs DIsTRrCT COURT F"'EG ij 'UQ"/~ D‘C'
FoR THE WESTERN I)ISTRICT oF TENNESSEE 03 ,.. RY 95 Pi, q, 2 |
s. i.§Fi ..." _] *_I'

 

WESTERN DIVISION
RONALD BOWMAN, )
)
Plaintiff, )
)
v. ) NO. 03-2456 Ml/An
)
GERALD STIPANUK, M.D., et al., )
)
Defendants. )

 

ORDER DENYING MOTION TO COMPEL DISCOVERY

 

Before the Court is Plaintifi" s Motion to Compel Discovery filed on March 8, 2005 . For
the reasons set forth below, the Motion is DENIED without prejudice.

BACKGROUND

 

Plaintiff filed this action pursuant to 42 U.S.C. § 1983 alleging that Defendants violated
his rights under the Fifth and Fourteenth Amendments to the United States Constitution. On or
about December l3, 2004, Plaintiff served Defendants with his First Request for Production of
Documents. Defendants responded to the discovery requests on June 7, 2004, and Plaintiff has
now filed the instant motion requesting that the Court compel Defendants to provide additional
discovery to Plaintiff. Plaintiff alleges that Defendants “submitted an incomplete response” to
the discovery requests and that Defendants’ responses have placed undue hardship on his case.

Both Defendant Correctional Medical Services, Inc. (“CMS”) and Defendants Shelby
County, Tennessee and J ames Blanchard (collective]y “Shelby County”) responded to the Motion

to Compel. In its Response CMS states that the Court instructed CMS to provided all documents

This document entered on ina docket sheet In compliance
with Flule 58 and!or 79(3) FF|CP on 5“<;@ 'O

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“pel‘taining to the pertinent parties and pertinent times” in the Court’s January 6, 2005 Order.
(CMS Resp. to Mot. to Compel, at 2). CMS argues that it provided all pertinent medical records
to Plaintiff, and CMS also argues that it provided additional documents to Plaintiff that Plaintiff
did not request in his discovery requests, including Plaintiff`s VA medical records. CMS finally
argues that Plaintiff is now attempting to expand the scope of his original discovery requests,
since Plaintiff is requesting additional documents that were not initially requested

ln its Response Shelby County argues that it should not be required to produce additional
documents to Plaintiff. Shelby County states that P]aintiff failed to consult with Shelby County’s
counsel, as required by Local Rule 7.2, before Plaintiff filed the instant Motion. Shelby County
also argues that it mailed relevant documents to Plaintiff for his review. Shelby County has
accused Plaintiff of “act[ing] in a dilatory fashion and . . . attempting to prevent this matter from
proceeding in an orderly fashion.” (Resp. of Shelby Co. to Mot. to Compel, at 2).

ANALYSIS

“Parties may obtain discovery regarding any matter, not privileged, that is relevant to the
claim or defense of any party . . . .” Fed. R. Civ. P. 26(b)(1). Relevancy means that the evidence
“appears reasonably calculated to lead to the discovery of admissible evidence.” Fed. R. Civ. P.
26(b)(1); see also Coleman v. Am. Rea’ Cross, 23 F.3d 1091, 1097 (6th Cir. 1994). The Court
should broadly interpret whether evidence is relevant See Oppenheimer Fund, Inc. v. Sanders,
437 U.S. 340, 351 n.12 (1978) (quoting 4 J. Moore, Federal Practz`ce § 26.96[1], at 26-131 n.34
(Zd ed. 1976)). ln this Circuit, the scope of discovery is extremely broad under the Federal Rules
of Civil Procedure and “is . . . within the broad discretion of the trial court.” Lew:`s v. ACB

Busr.`ness Servs. Inc., 135 F.3d 389, 402 (6th Cir. 1998). The United States Supreme Court has

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also noted that discovery should be both broad and liberal. See Schlagenhaufv. Hola’er, 379 U.S.
104. 1 14-15 (1964) (citing Hickman v. Taylor, 329 U.S. 495, 507 (1947)).

fn this case, the Court has reviewed Plaintiff’ s Motion and concludes that Plaintiff does
not specify with sufficient clarity which documents he thinks he is entitled to receive and which
documents were not provided to him by Defendants. Plainti ff also does not list the reasons he
believes these documents are relevant and discoverable Judge McCalla held a status conference
with Plaintiff and Defendants’ counsel on April 8, 2005, and the docket sheet indicates that the
parties discussed discovery-related issues. Therefore, the undersigned concludes that the parties
may have reached some agreement on what documents, if any, Defendants should provide to
Plaintiff that they may not have already provided As such, the Court is not prepared to rule on
the instant motion at this time.

Additionally, Judge McCalla entered a new Rule 16(b) Scheduling Order on April 12,
2005 that allows additional time to complete discovery. Therefore, because the discovery period
has been reopened, Plaintiff may request additional documents from Defendants that he believes
are relevant and material to his case. As already mentioned, discovery is extremely broad and
liberal in the Sixth Circuit, so Plaintiff should be entitled to review any documents that could
lead to the discovery of admissible evidence.

Therefore, after due consideration, Plaintiff’ s Motion is DENIED without prejudice If
Plaintiff still believes that the Defendants have not produced documents that are relevant and
discoverable, he can re»file his Motion to Compel. However, Plaintiff is reminded that he should
specify which documents he has not received and why he believes the documents are

discoverable, Plaintiff is also reminded that he should comply with the Local Rules for the

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Westem District of Tennessee requiring consultation with opposing counsel for all disputed
discovery matters before filing any future motions to compel.

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: 277/17 070:. 200 s/

       
 

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This notice confirms a copy of the document docketed as number 138 in
case 2:03-CV-02456 was distributed by faX, mail, or direct printing on
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Honorable .l on McCalla
US DISTRICT COURT

